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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 OPTIS WIRELESS TECHNOLOGY, LLC,                §
 OPTIS CELLULAR TECHNOLOGY, LLC,                §
 PANOPTIS PATENT MANAGEMENT,                    §
 LLC,     UNWIRED PLANET, LLC,                  §
 UNWIRED PLANET INTERNATIONAL                   §
 LIMITED,                                       §
                                                §
                                                §     CIVIL ACTION NO. 2:19-CV-00066-JRG
               Plaintiffs,                      §
                                                §
 v.                                             §
                                                §
 APPLE INC.,                                    §
                                                §
               Defendant.                       §
                                                §

                                     FINAL JUDGMENT
       A jury trial commenced in this case on August 3, 2020. On August 11, 2020, the jury

returned a unanimous verdict (Dkt. No. 483) finding that Defendant Apple Inc. (“Apple”) infringed

one or more claims asserted by Plaintiffs Optis Wireless Technology, LLC; Optis Cellular

Technology, LLC; PanOptis Patent Management, LLC; Unwired Planet, LLC; and Unwired Planet

International Limited (collectively, “Optis”), such claims being 6 and 7 of U.S. Patent

No. 8,019,332; claims 1, 14, and 27 of U.S. Patent No. 8,385,284; claims 1 and 10 of U.S. Patent

No. 8,411,557; claim 6 of U.S. Patent No. 9,001,774; and claim 8 of U.S. Patent No. 8,102,833

(collectively, the “Asserted Claims”); that none of the Asserted Claims were invalid; that Apple’s

infringement had been willful; and that Optis should recover from Apple $ 506,200,000 as a

reasonable royalty for such infringement.

       The Court conducted a separate bench trial on August 11, 2020. The bench trial took up

the issues of Count VIII as urged by Optis and also took up Apple’s waiver defense. On
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January 22, 2021, the Court issued Findings of Fact and Conclusions of Law, wherein the Court

declined jurisdiction to decide whether Optis’s offers were FRAND and held that Apple failed to

show the asserted patents were unenforceable due to late disclosure to the standards-setting

organization. (Dkt. No. 538.)

           Optis has moved for entry of Final Judgment (Dkt. No. 541), which the Court now

GRANTS.

           Pursuant to Rule 58 of the Federal Rules of Civil Procedure and in accordance with the

foregoing, the Court hereby ORDERS and ENTERS JUDGMENT as follows:

           1. Apple has infringed one or more of the Asserted Claims;

           2. The Asserted Claims are not invalid;

           3. Apple’s infringement was willful;

           4. Optis is hereby awarded damages from and against Apple and shall accordingly have

                and recover from Apple the sum of $ 506,200,000.00 U.S. Dollars as a reasonable

                royalty for past sales through the date of trial;

           5. Notwithstanding the jury’s finding of willfulness, the Court having considered the

                totality of the circumstances together with the added material benefit of having presided

                throughout the jury trial and having seen both the same evidence and heard the same

                arguments as the jury, and mindful that enhancement is generally reserved for

                “egregious cases of culpable behavior,” 1 concludes that enhancement of the

                compensatory award herein is not warranted under 35 U.S.C. § 284 and consequently,

                the Court elects not to enhance the damages awarded herein;




1
    Halo Electronics, Inc. v. Pulse Electronics, Inc., 136 S.Ct. 1923, 1934 (2016).

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           6. Pursuant to 35 U.S.C. § 284 and Supreme Court guidance that “prejudgment interest

                shall ordinarily be awarded absent some justification for withholding such an award,” 2

                the Court awards pre-judgment interest applicable to all sums awarded herein,

                calculated at the 5-year U.S. Treasury Bill rate, compounded quarterly, from the date

                of infringement through the date of entry of this Judgment; 3 and

           7. Pursuant to 28 U.S.C. § 1961, the Court awards post-judgment interest applicable to all

                sums awarded herein, at the statutory rate, from the date of entry of this Judgment until
       .
                paid.

           8. Pursuant to Federal Rule of Civil Procedure 54(d)(1) and 28 U.S.C. § 1920, Optis is

                the prevailing party, and as the prevailing party, Optis shall recover its costs from

                Apple. Optis is directed to file its proposed Bill of Costs.

           All other requests for relief now pending before the Court and not specifically addressed

herein are DENIED. The Clerk is directed to CLOSE the above-captioned case.


           So ORDERED and SIGNED this 25th day of February, 2021.




                                                                        ____________________________________
                                                                        RODNEY GILSTRAP
                                                                        UNITED STATES DISTRICT JUDGE




2
    General Motors Corp. v. Devex Corp., 461 U.S. 648, 657 (1983).
3
    See Nickson Indus., Inc. v. Rol Mfg. Co., Ltd., 847 F.2d 795, 800–801 (Fed. Cir. 1988).

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